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                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT

                             CASE NO. 22-11150-G

                         L.T. Case No. 9:18-cv-80176-BB

IRA KLEIMAN, as the Personal
Representative of the Estate of
David Kleiman,

            Appellant,

vs.

CRAIG WRIGHT,

            Appellee.


  APPELLANT’S UNNOPPOSED MOTION FOR EXTENSION OF TIME
                 TO FILE OPENING BRIEF

Devin (Velvel) Freedman, Esq.
Florida Bar No. 99762
ROCHE FREEDMAN LLP
1 SE 3rd Avenue, Suite 1240
Miami, FL 33131
vel@rochefreedman.com

Kyle W. Roche, Esq.
Admitted Pro Hac Vice
ROCHE FREEDMAN LLP
99 Park Avenue, Suite 1910
New York, NY 10016
kyle@rochefreedman.com

Andrew Brenner, Esq.
BOIES SCHILLER FLEXNER LLP
100 SE 2nd Avenue, Suite 2800
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Miami, FL 33131
abrenner@bsfllp.com

Counsel to Appellant Ira Kleiman as Personal Representative of the Estate of
David Kleiman.

             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Produce 26.1 and Eleventh Circuit Rule

26.1, Appellant IRA KLEIMAN, as the Personal Representative of the Estate of

Dave Kleiman, respectfully submits the following Certificate of Interested Parties

and Corporate Disclosure Statement:

         1. Ira Kleiman

         2. The Estate of David Kleiman

         3. BTCN 1610-491 LLC

         4. Boies Schiller Flexner LLP

         5. Roche Freedman LLP

      Appellant certifies that no publicly traded company or corporation has an

interest in the outcome of the case of appeal.




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         APPELLANT’S MOTION FOR EXTENSION OF TIME TO FILE
                       OPENING BRIEF

      Appellant respectfully moves for a 60-day extension of time, through July 18,

2022, to file the opening brief in this matter. Appellee does not oppose the requested

extension.

      Good cause exists to grant the extension. The Estate’s opening brief is

currently due on May 18, 2022. As an initial matter, the record in this case is quite

large. The District Court’s docket is over 890 entries long. The four-week trial

transcript is nineteen (19) volumes, and there are over 369 trial exhibits. Moreover,

since the notice of appeal was filed in the case, counsel of record has had numerous

commitments, both professional and personal, that has made filing a brief by the 18th

exceptionally difficult. These commitments include: (i) preparation for, and

attendance at an unrelated trial in Miami Dade County, (ii) post-trial briefing in a

major arbitration matter, (iii) preparation for oral argument scheduled before this

Court on May 20, 2022, (iv) observance of the Passover Holiday, and (v) personal

pre-scheduled family vacations.

      No prior extensions have been requested by Appellant.

      Certificate of Consultation. Pursuant to Eleventh Circuit Rule 26-1, Counsel

for Appellee has authorized the undersigned to indicate that Appellee do not object

to the requested extension of time.



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      For all the forgoing reasons, Appellant respectfully requests the Court extend

the time in which to file its opening brief by 60-days, until July 18, 2022.



Dated May 9, 2022                             Respectfully submitted,

                                              s/ Devin (Velvel) Freedman
                                              Devin (Velvel) Freedman, Esq.
                                              Florida Bar No. 99762
                                              ROCHE FREEDMAN LLP
                                              1 SE 3rd Avenue, Suite 1240
                                              Miami, FL 33131
                                              vel@rochefreedman.com

                                              Kyle W. Roche, Esq.
                                              Admitted Pro Hac Vice
                                              ROCHE FREEDMAN LLP
                                              99 Park Avenue, Suite 1910
                                              New York, NY 10016
                                              kyle@rochefreedman.com

                                              Andrew Brenner, Esq.
                                              BOIES SCHILLER FLEXNER LLP
                                              100 SE 2nd Avenue, Suite 2800
                                              Miami, FL 33131
                                              abrenner@bsfllp.com

                                              Counsel to Appellant Ira Kleiman as
                                              Personal Representative of the Estate
                                              of David Kleiman.




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        FED. R. APP. P. 32(g)(1) CERTIFICATE OF COMPLIANCE

      I certify that this document complies with the type-volume limitation set

forth in Fed. R. App. P. 27(d)(2). This document contains 227 words, excluding the

parts exempted by Fed R. App. P. 32(f) and Eleventh Circuit Rule 32-4.

      This document complies with Eleventh Circuit Rule 27-1(a)(10) and the

typeface requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements

of Fed. R. App. P. 32(a)(6). It has been prepared in a proportionally spaced

typeface using Microsoft Word in 14-point Times New Roman font.

                                               s/ Devin (Velvel) Freedman
                                               Devin (Velvel) Freedman


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 9, 2022, I electronically filed the foregoing

document with the United States Eleventh Circuit Court of appeals using CM/ECF,

which will automatically provide a copy to all counsel of record.



                                             /s/ Devin (Velvel) Freedman
                                             Devin (Velvel) Freedman




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